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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                              Case No. 4:21-cr-00109-BLW
        Plaintiff,
                                              ORDER ADOPTING REPORT
         v.                                   AND RECOMMENDATION

  CONRAD FELLOWS,

        Defendant.


      Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 24). On September 21, 2021, Defendant Conrad Fellows

appeared before the Magistrate Judge to enter a change of plea pursuant to a

written plea agreement. The Magistrate Judge conducted the plea hearing and

concluded there is a factual basis for Defendant’s admission to forfeiture and plea

of guilty to the charges contained in Count Two of the Indictment (Dkt. 1), and that

it was entered voluntarily and with full knowledge of the consequences. No

objections to the Report and Recommendation have been filed.

      The Court has reviewed the record and finds that the requirements of Rule

11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the

requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was



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voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 24) shall be, and the same is hereby, ADOPTED as the

decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the

crimes charged in Count Two of the Indictment (Dkt. 1) shall be, and the same is

hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the

offense.

      IT IS FURTHER ORDERED that Defendant Conrad Fellows is found to be

GUILTY as to the applicable crimes charged in the Indictment. (Dkt 1).



                                                    DATED: October 6, 2021


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




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